                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 UNITED STATES OF AMERICA

 v.

 EDWARD CONSTANTINESCU,                         No. 4:22-CR-00612-S
 PERRY “PJ” MATLOCK,
 JOHN RYBARCZYK,
 GARY DEEL,
 STEFAN HRVATIN,
 TOM COOPERMAN,
 MITCHELL HENNESSEY,
 DANIEL KNIGHT.


                            ORDER TO RETURN CASH BOND

         On March 20, 2024, this Court dismissed without prejudice the above numbered and
titled case. As such, the Southern District of Texas Clerk’s Office is hereby ORDERED to return
to the Defendant the cash bond paid on December 21, 2022, in the amount of $200,000.00
(receipt number # HOU112985).


       Signed this ___ day of March, 2024.




                                                     __________________________________
                                                     Presiding Honorable Judge Andrew Hanen
